Case 23-19865-JKS             Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                            Desc Main
                                      Document    Page 1 of 31


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     Co-Counsel for Debtors and                                  Co-Counsel for Debtors and
     Debtors in Possession                                       Debtors in Possession

                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY


 In re:                                                          Chapter 11

 WEWORK INC., et al.,                                            Case No. 23-19865 (JKS)

                                      Debtors.1                  (Jointly Administered)


                       NOTICE OF FILING VALUATION ANALYSIS,
                     FINANCIAL PROJECTIONS, AND LIQUIDATION
                 ANALYSIS AS EXHIBITS TO THE DISCLOSURE STATEMENT

           PLEASE TAKE NOTICE that on February 4, 2024, the above-captioned debtors and

 debtors in possession (the “Debtors”), by and through their undersigned counsel, filed the

 Disclosure Statement Relating to the Joint Chapter 11 Plan of Reorganization of WeWork Inc. and

 Its Debtor Subsidiaries [Docket No. 1291] (the “Initial Disclosure Statement”).




 1
       A complete list of each of the Debtors in these Chapter 11 Cases may be obtained on the website of the Claims
       Agent at https://dm.epiq11.com/WeWork. The location of Debtor WeWork Inc.’s principal place of business
       is 12 East 49th Street, 3rd Floor, New York, NY 10017; the Debtors’ service address in these chapter 11 cases is
       WeWork Inc. c/o Epiq Corporate Restructuring, LLC 10300 SW Allen Blvd. Beaverton, OR 97005.
Case 23-19865-JKS       Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10              Desc Main
                                Document    Page 2 of 31



        PLEASE TAKE FURTHER NOTICE that on April 19, 2024, the Debtors, by and

 through their undersigned counsel, filed the First Amended Disclosure Statement Relating to the

 First Amended Joint Chapter 11 Plan of Reorganization of WeWork Inc. and Its Debtor

 Subsidiaries [Docket No. 1691] (the “Amended Disclosure Statement”).

        PLEASE TAKE FURTHER NOTICE that the Debtors hereby file the following

 documents as additional exhibits to the Disclosure Statement, as may be modified, amended, or

 supplemented from time to time:

                             Exhibit D    Valuation Analysis

                             Exhibit E    Financial Projections

                             Exhibit F    Liquidation Analysis

        PLEASE TAKE FURTHER NOTICE that copies of all documents filed in these

 chapter 11 cases may be obtained free of charge by visiting the website of Epiq Corporate

 Restructuring, LLC at https://dm.epiq11.com/WeWork. You may also obtain copies of any

 pleadings by visiting the Court’s website at https://www.njb.uscourts.gov in accordance with the

 procedures and fees set forth therein.



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                                                 2
Case 23-19865-JKS        Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10             Desc Main
                                 Document    Page 3 of 31



Dated: April 22, 2024

/s/ Michael D. Sirota
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Co-Counsel for Debtors and                Co-Counsel for Debtors and
Debtors in Possession                     Debtors in Possession
Case 23-19865-JKS   Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10   Desc Main
                            Document    Page 4 of 31



                                    Exhibit D
                                Valuation Analysis
Case 23-19865-JKS        Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                 Desc Main
                                 Document    Page 5 of 31



                                         Valuation Analysis

       THE INFORMATION CONTAINED HEREIN IS NOT A PREDICTION OR
 GUARANTEE OF THE ACTUAL MARKET VALUE THAT MAY BE REALIZED THROUGH
 THE SALE OF ANY SECURITIES TO BE ISSUED PURSUANT TO THE PLAN.
 THE INFORMATION IS PRESENTED SOLELY FOR THE PURPOSE OF PROVIDING
 ADEQUATE INFORMATION UNDER SECTION 1125 OF THE BANKRUPTCY CODE TO
 ENABLE THE HOLDERS OF CLAIMS ENTITLED TO VOTE TO ACCEPT OR REJECT THE
 PLAN TO MAKE AN INFORMED JUDGMENT ABOUT THE PLAN AND SHOULD NOT BE
 USED OR RELIED UPON FOR ANY OTHER PURPOSE, INCLUDING THE PURCHASE OR
 SALE OF CLAIMS AGAINST THE DEBTORS OR ANY OF THEIR AFFILIATES.

         Solely for the purposes of the Plan and the Disclosure Statement, PJT Partners LP (“PJT”),
 as restructuring advisors to the Debtors, has estimated a potential range of total enterprise value
 (“Enterprise Value”) and implied equity value (“Equity Value”) for the Reorganized Debtors pro
 forma for the transactions contemplated by the Plan (the “Valuation Analysis”). The Valuation
 Analysis utilizes certain financial and other information provided by the Debtors’ management, as
 well as the Financial Projections attached to the Disclosure Statement as Exhibit D, and
 information provided by other sources, subject in all respects to the disclaimers and the description
 of PJT’s methodology set forth herein. The Valuation Analysis is as of April 20, 2024, with an
 assumed Effective Date of June 1, 2024. The Valuation Analysis utilizes market data as of
 April 20, 2024. The valuation estimates set forth herein represent valuation analyses of the
 Reorganized Debtors generally based on the application of customary valuation techniques to the
 extent deemed appropriate by PJT.

        A. General Methodology

         The estimated values set forth in this Valuation Analysis: (i) assume the Plan and
 transactions contemplated thereby are consummated; (ii) do not constitute an opinion on the terms
 and provisions or fairness from a financial point of view to any person of the consideration to be
 received by such person under the Plan; (iii) do not constitute a recommendation to any Holders
 of Allowed Claims as to how such person should vote or otherwise act with respect to the Plan;
 and (iv) do not necessarily reflect the actual market value that might be realized through a sale or
 liquidation of the Reorganized Debtors.

          In preparing the Valuation Analysis, PJT, among other things: (i) reviewed certain
 historical financial information of the Debtors for recent years and interim periods; (ii) reviewed
 certain financial and operating data of the Debtors, including the Financial Projections;
 (iii) discussed the Debtors’ operations and future prospects with the Debtors’ senior management
 team and the Debtors’ other advisors; (iv) reviewed certain publicly available financial data for,
 and considered the market value of, public companies that could be comparable in certain respects
 to the Reorganized Debtors; (v) considered certain economic and industry information that PJT
 deemed generally relevant to the Reorganized Debtors; and (vi) considered binding and
 non-binding proposals received for an acquisition of the company or certain of its assets. PJT
 assumed and relied on the accuracy and completeness of all financial and other information
 furnished to it by the Debtors’ management and other parties as well as publicly available
 information.
Case 23-19865-JKS        Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                  Desc Main
                                 Document    Page 6 of 31



          In preparing the Valuation Analysis, PJT considered two sources of value: (i) the
 company’s operations in its wholly-owned jurisdictions; and (ii) the company’s operations or
 assets in non-wholly owned jurisdictions and joint venture entities. In respect of the assets referred
 to in the foregoing clause (i), PJT considered a variety of factors and evaluated a variety of
 financial analyses, including (a) discounted cash flow analysis; and (b) comparable companies
 analysis. While PJT considered incorporating a precedent transactions analysis, PJT chose not to
 do so due to a lack of recent and publicly available financial information for relevant precedent
 transactions. In respect of the assets referred to in the foregoing clause (ii), PJT considered
 information provided by the Debtors’ management team and, in certain cases, bids received for a
 sale of the assets. The preparation of a valuation analysis is a complex analytical process involving
 subjective determinations about which methodologies of financial analysis are most appropriate
 and relevant and the application of those methodologies to particular facts and circumstances in a
 manner that is not readily susceptible to summary description.

        B. Enterprise and Equity Value

         Based on the aforementioned analyses, and other information described herein and solely
 for purposes of the Plan, the estimated range of Enterprise Value of the Reorganized Debtors,
 collectively, is approximately $650 million to approximately $850 million (with the mid-point of
 such range being approximately $750 million).

        In addition, based on the estimated range of Enterprise Value of the Reorganized Debtors
 and other information described herein and solely for purposes of the Plan, PJT estimated the
 potential range of total Equity Value of the Reorganized Debtors, which consists of the Enterprise
 Value, less funded indebtedness plus excess balance sheet cash on the Effective Date. PJT has
 assumed that the Reorganized Debtors will have, as of the assumed Effective Date, approximately
 $15 million of excess cash and no funded indebtedness.

        Based upon the estimated range of Enterprise Value of the Reorganized Debtors described
 above, and assuming excess cash of approximately $15 million, PJT estimated that the potential
 range of Equity Value for the Reorganized Debtors is between approximately $665 million and
 approximately $865 million (with the mid-point of such range being approximately $765 million).

        C. Additional Considerations

         For purposes of the Valuation Analysis, PJT assumed that no material changes that would
 affect estimated value will occur between the date of filing of the Disclosure Statement and the
 Effective Date. In addition, PJT assumed that, as of the assumed Effective Date, there will be no
 material change in economic, monetary, market, industry, regulatory, and other conditions that
 would impact any of the material information made available to PJT. PJT makes no representation
 as to the achievability or reasonableness of such assumptions. The Debtors undertake no
 obligation to update or revise statements to reflect events or circumstances that arise after the date
 of the Disclosure Statement or to reflect the occurrence of unanticipated events. PJT’s Valuation
 Analysis does not constitute an opinion as to the fairness from a financial point of view of the
 consideration to be received or paid under the Plan, of the terms and provisions of the Plan, or with
 respect to any other matters.




                                                   2
Case 23-19865-JKS        Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                 Desc Main
                                 Document    Page 7 of 31



          PJT did not independently evaluate the tax consequences of the Plan or the Debtors’
 estimates of the Reorganized Debtors’ tax liability and did not independently analyze the value of
 any tax attributes of the Reorganized Debtors. The estimate of tax liability utilized for the
 Valuation Analysis is based on a preliminary analysis by the Debtors’ tax team and reflects U.S.
 federal income tax treatment of the Debtors tax attributes under Section 382(l)(6) of the Internal
 Revenue Code of 1986, as amended (the “Code”), and numerous other assumptions. The Debtors
 expect that actual cash taxes may vary significantly based on a variety of factors, including the
 Debtors’ economic performance, the form of their restructuring transactions, and the availability
 of their tax attributes. Tax analysis with respect to Debtors remains ongoing and subject to material
 change in all respects. The Valuation Analysis does not separately ascribe value to tax attributes
 or attempt to “risk adjust” for the variability of tax results that could occur under the Plan. Any
 changes in the estimated tax liability of the Reorganized Debtors, or a change in the structure
 utilized to consummate the reorganization or the amount or ability to use any tax attributes, could
 materially change the conclusions reached in the Valuation Analysis.

         Management of the Debtors advised PJT that the Financial Projections were reasonably
 prepared in good faith and on a basis reflecting the Debtors’ best estimates and judgments as to
 the future operating and financial performance of the Reorganized Debtors. The Valuation
 Analysis assumes that the actual performance of the Reorganized Debtors will correspond to the
 Financial Projections in all material respects. If the business performs at levels below or above
 those set forth in the Financial Projections, such performance may have a materially negative or
 positive impact, respectively, on the valuation of the company and the Enterprise Value thereof.

       THE VALUATION ANALYSIS REFLECTS WORK PERFORMED BY PJT ON THE
 BASIS OF INFORMATION IN RESPECT OF THE BUSINESSES AND ASSETS OF THE
 DEBTORS AVAILABLE TO PJT AS OF APRIL 20, 2024. IT SHOULD BE UNDERSTOOD
 THAT, ALTHOUGH SUBSEQUENT DEVELOPMENTS MAY HAVE AFFECTED OR MAY
 AFFECT PJT’S CONCLUSIONS, PJT DOES NOT HAVE ANY OBLIGATION TO UPDATE,
 REVISE, OR REAFFIRM THE VALUATION ANALYSIS AND DOES NOT INTEND TO DO
 SO, EXCEPT AS REQUIRED BY APPLICABLE LAW.

      PJT DID NOT INDEPENDENTLY VERIFY THE FINANCIAL PROJECTIONS OR
 OTHER INFORMATION THAT PJT USED TO PREPARE THE VALUATION ANALYSIS,
 AND NO INDEPENDENT VALUATIONS OR APPRAISALS OF THE DEBTORS OR THEIR
 ASSETS OR LIABILITIES WERE SOUGHT OR OBTAINED IN CONNECTION
 THEREWITH.    THE VALUATION ANALYSIS WAS DEVELOPED SOLELY FOR
 PURPOSES OF THE PLAN AND THE ANALYSIS OF POTENTIAL RELATIVE
 RECOVERIES TO CREDITORS THEREUNDER.         THE VALUATION ANALYSIS
 REFLECTS THE APPLICATION OF VARIOUS VALUATION TECHNIQUES, DOES NOT
 PURPORT TO BE AN OPINION, AND DOES NOT PURPORT TO REFLECT OR
 CONSTITUTE AN APPRAISAL OR AN ESTIMATE OF THE LIQUIDATION VALUE OF
 THE DEBTORS OR THE ACTUAL MARKET VALUE THAT MAY BE REALIZED
 THROUGH THE SALE OF ANY SECURITIES TO BE ISSUED OR ASSETS TO BE SOLD
 PURSUANT TO THE PLAN, WHICH MAY BE SIGNIFICANTLY DIFFERENT FROM THE
 AMOUNTS SET FORTH IN THE VALUATION ANALYSIS.




                                                  3
Case 23-19865-JKS   Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10   Desc Main
                            Document    Page 8 of 31



       THE VALUE OF AN OPERATING BUSINESS IS SUBJECT TO NUMEROUS
 UNCERTAINTIES AND CONTINGENCIES THAT ARE DIFFICULT TO PREDICT AND
 WILL FLUCTUATE WITH CHANGES IN FACTORS AFFECTING THE FINANCIAL
 CONDITION AND PROSPECTS OF SUCH A BUSINESS. AS A RESULT, THE VALUATION
 ANALYSIS IS NOT NECESSARILY INDICATIVE OF ACTUAL OUTCOMES, WHICH MAY
 BE SIGNIFICANTLY MORE OR LESS FAVORABLE THAN THOSE SET FORTH HEREIN.
 BECAUSE SUCH ESTIMATES ARE INHERENTLY SUBJECT TO UNCERTAINTIES,
 NEITHER THE DEBTORS, PJT, NOR ANY OTHER PERSON ASSUMES RESPONSIBILITY
 FOR THEIR ACCURACY. IN ADDITION, THE POTENTIAL VALUATION OF NEWLY
 ISSUED SECURITIES IS SUBJECT TO ADDITIONAL UNCERTAINTIES AND
 CONTINGENCIES, ALL OF WHICH ARE DIFFICULT TO PREDICT. ACTUAL MARKET
 PRICES OF SUCH SECURITIES AT ISSUANCE WILL DEPEND UPON, AMONG OTHER
 THINGS, CONDITIONS IN THE FINANCIAL MARKETS, THE ANTICIPATED INITIAL
 SECURITIES HOLDINGS OF PREPETITION CREDITORS, SOME OF WHICH MAY
 PREFER TO LIQUIDATE THEIR INVESTMENT IMMEDIATELY RATHER THAN HOLD
 THEIR INVESTMENT ON A LONG-TERM BASIS, THE POTENTIALLY DILUTIVE
 IMPACT OF CERTAIN EVENTS, INCLUDING THE ISSUANCE OF EQUITY SECURITIES
 PURSUANT TO THE REORGANIZED DEBTORS’ MANAGEMENT INCENTIVE PLANS,
 AND OTHER FACTORS THAT GENERALLY INFLUENCE THE PRICES OF SECURITIES.

      THE VALUATION ANALYSIS DOES NOT CONSTITUTE A RECOMMENDATION
 TO ANY HOLDER OF ALLOWED CLAIMS, OR ANY OTHER PERSON, AS TO HOW SUCH
 PERSON SHOULD VOTE OR OTHERWISE ACT WITH RESPECT TO THE PLAN. PJT HAS
 NOT BEEN REQUESTED TO, AND DOES NOT EXPRESS ANY VIEW AS TO, THE
 POTENTIAL TRADING VALUE OF THE REORGANIZED DEBTORS’ SECURITIES ON
 ISSUANCE OR AT ANY OTHER TIME THEREAFTER.

      THE SUMMARY SET FORTH ABOVE DOES NOT PURPORT TO BE A COMPLETE
 DESCRIPTION OF THE VALUATION ANALYSIS PERFORMED BY PJT.
 THE PREPARATION OF A VALUATION ANALYSIS INVOLVES VARIOUS
 DETERMINATIONS AS TO THE MOST APPROPRIATE AND RELEVANT METHODS OF
 FINANCIAL ANALYSIS AND THE APPLICATION OF THESE METHODS IN THE
 PARTICULAR CIRCUMSTANCES AND, THEREFORE, SUCH AN ANALYSIS IS NOT
 READILY SUITABLE TO SUMMARY DESCRIPTION. THE VALUATION ANALYSIS
 PERFORMED BY PJT IS NOT NECESSARILY INDICATIVE OF ACTUAL VALUES OR
 FUTURE RESULTS, WHICH MAY BE SIGNIFICANTLY MORE OR LESS FAVORABLE
 THAN THOSE DESCRIBED HEREIN.

      PJT IS ACTING AS RESTRUCTURING ADVISOR TO THE DEBTORS, AND HAS
 NOT AND WILL NOT BE RESPONSIBLE FOR, AND HAS NOT AND WILL NOT PROVIDE
 ANY TAX, ACCOUNTING, ACTUARIAL, LEGAL, OR OTHER SPECIALIST ADVICE TO
 THE DEBTORS OR ANY OTHER PARTY IN CONNECTION WITH THE DEBTORS’
 CHAPTER 11 CASES, THE PLAN, OR OTHERWISE.




                                       4
Case 23-19865-JKS   Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10   Desc Main
                            Document    Page 9 of 31



                                    Exhibit E
                               Financial Projections
Case 23-19865-JKS            Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                             Desc Main
                                    Document     Page 10 of 31


                                               WeWork Inc.
                                      Overview of Financial Projections

          The Debtors1 believe that the Plan meets the feasibility requirements set forth in section 1129(a)(11)
 of the Bankruptcy Code, as Confirmation is not likely to be followed by liquidation or the need for further
 financial reorganization of the Debtors or any successor to the Debtors. In connection with the planning
 and development of a plan of reorganization and for purposes of determining whether the Plan will satisfy
 this feasibility standard, the Debtors have analyzed their ability to satisfy their post-Effective Date financial
 obligations while maintaining sufficient liquidity and capital resources.

         In connection with the Disclosure Statement, the Debtor’s prepared the following financial
 projections (the “Financial Projections”) on a Wholly Owned basis for the period from June 2024 through
 December 2028 (the “Projection Period”) based on information available to them. The Financial
 Projections were prepared in good faith by the Debtors’ management team (“Management”) with the
 assistance of its advisors and are based on several assumptions made by Management within the bounds of
 their knowledge of their business and operations, with respect to the future performance of the Reorganized
 Debtors’ operations assuming the Plan is Consummated. Although Management has prepared the Financial
 Projections in good faith and believes the assumptions to be reasonable, there can be no assurance that such
 assumptions will be realized. The Company prepared the Financial Projections based on information
 available to it. No representations or warranties, expressed or implied, are provided in relation to fairness,
 accuracy, correctness, completeness, or reliability of the information, opinions, or conclusions expressed
 herein.

      THESE FINANCIAL PROJECTIONS WERE NOT PREPARED WITH A VIEW TOWARD
 COMPLIANCE WITH PUBLISHED GUIDELINES OF THE U.S. SECURITIES AND EXCHANGE
 COMMISSION, U.S. GENERALLY ACCEPTED ACCOUNTING PRINCIPLES, OR GUIDELINES
 ESTABLISHED BY THE AMERICAN INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS FOR
 PREPARATION AND PRESENTATION OF PROSPECTIVE FINANCIAL INFORMATION OR ANY
 OTHER APPLICABLE GUIDELINES.

       THE FINANCIAL PROJECTIONS HAVE NOT BEEN AUDITED OR REVIEWED BY A
 REGISTERED INDEPENDENT ACCOUNTING FIRM.

 Safe Harbor Under the Private Securities Litigation Reform Act of 1995

         The Financial Projections and the assumptions that the Debtors believe to be significant to the
 Financial Projections contain certain statements that may be deemed “forward-looking” within the meaning
 of the Private Securities Litigation Reform Act of 1995, as amended. Forward-looking statements in the
 Financial Projections include the intent, belief, or current expectations of the Debtors and Management
 with respect to the timing of, completion of, and scope of the current restructuring, the Plan, the Debtors’
 business plan, and market conditions, and the Debtors’ future liquidity, as well as the assumptions upon
 which such statements are based. When used in the Financial Projections, or the assumptions, the words
 “anticipate,” “believe,” “project,” “estimate,” “will,” “may,” “intend,” “strategy,” “future,” “opportunity,”
 “plan,” “pipeline,” “expect,” “target,” “model,” “can,” “could,” “should,” “would” or similar expressions
 should be generally identified as forward-looking statements. While the Debtors believe that the plans,
 intentions, and expectations reflected in the forward-looking statements are based upon reasonable
 assumptions within the bounds of their knowledge of their business and operations, parties-in-interest are

 1
  All capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Amended
 Disclosure Statement Relating to the joint chapter 11 plan of WeWork inc. and its debtor subsidiaries, dated April 19,
 2024, to which these Financial Projections are attached as Exhibit E.

                                                           1
Case 23-19865-JKS           Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                            Desc Main
                                   Document     Page 11 of 31


 cautioned that any such forward-looking statements are not guarantees of future performance, involve
 significant risks, uncertainties, and assumptions, and that actual results may differ materially and adversely
 from those expressed or implied by such forward-looking statements. Except as required by law, the
 Company expressly disclaims any obligation to update any forward-looking statement, whether because of
 new information, future events, or otherwise.

 Accounting Policies

          The Projections have been prepared using accounting policies that are materially consistent with
 those applied in the Debtors’ historical financial statements and projections. The Projections do not reflect
 all of the adjustments necessary to implement fresh-start accounting pursuant to ASC 852-10 or ASC 842,
 as issued by the Financial Accounting Standards Board.

 Risk Factors

         The Financial Projections are based upon numerous assumptions, including business, economic
 and other market conditions. Many of these assumptions are beyond the control of the Company and are
 inherently subject to substantial risks and uncertainties, most of which are difficult to predict and many of
 which are beyond Management’s control. Many factors could cause actual results, performance, or
 achievements to differ materially and adversely from any future results, performance, or achievements
 expressed or implied by these forward-looking statements.

          Additional details regarding these uncertainties are described in the Disclosure Statement. Should
 one or more of the risks or uncertainties referenced in the Disclosure Statement occur, or should underlying
 assumptions prove incorrect, actual results and plans could differ materially and adversely from those
 expressed in the Financial Projections. Furthermore, new factors could cause actual results to differ
 materially and adversely from those described in the Financial Projections, and it is not possible to predict
 all such factors or to the extent to which any such factor or combination of factors may cause actual results
 to differ from those contained in the Financial Projections. The Financial Projections herein are not, and
 must not be viewed as, a guarantee of the Company’s future performance.

       ALTHOUGH MANAGEMENT HAS PREPARED THE PROJECTIONS IN GOOD FAITH AND
 BELIEVES THE ASSUMPTIONS TO BE REASONABLE, THE DEBTORS AND THE
 REORGANIZED DEBTORS CAN PROVIDE NO ASSURANCE THAT SUCH ASSUMPTIONS WILL
 BE REALIZED. AS DESCRIBED IN DETAIL IN THE DISCLOSURE STATEMENT, A VARIETY OF
 RISK FACTORS COULD AFFECT THE REORGANIZED DEBTORS’ FINANCIAL RESULTS AND
 MUST BE CONSIDERED. ACCORDINGLY, ANY REVIEW OF THE PROJECTIONS SHOULD
 TAKE INTO ACCOUNT THE RISK FACTORS SET FORTH IN THE DISCLOSURE STATEMENT
 AND THE ASSUMPTIONS DESCRIBED HEREIN, INCLUDING ALL RELEVANT
 QUALIFICATIONS AND FOOTNOTES.

 General Assumptions

         The Debtor’s, with the aid of their advisors have prepared the Financial Projections covering the time
 from the estimated Effective Date through fiscal year 2028 for the Projection Period. The Financial Projections
 are based on a number of assumptions with respect to the future performance of the Company’s operations
 assuming the Plan is Consummated.

         The Financial Projections are based upon, and assume the successful implementation of, the Plan. The
 Financial Projections assume that the Effective Date will be June 1, 2024 and that the Reorganized Debtors
 continue to operate substantially similar to their current business. If the Effective Date is significantly delayed,


                                                          2
Case 23-19865-JKS           Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                           Desc Main
                                   Document     Page 12 of 31


 additional expenses, including, without limitation, professional fees, may be incurred and operating results may
 be negatively impacted. The Financial Projections also take into account the current market environment in
 which the Debtors compete, including many economic and financial forces that are beyond the control of the
 Debtors and Management. The Debtors operate in the co-working industry, providing space-as-a-service to its
 members. Furthermore, the Debtors also generate monthly revenue from related product offerings and branding
 agreements, which are further described herein.

          However, the assumptions do not necessarily take into account the uncertainty and disruption of
 business that may accompany a restructuring pursuant to the Bankruptcy Code. Therefore, although the Financial
 Projections are necessarily presented with numerical specificity, the actual results achieved during the projection
 period will likely vary from the projected results. These variations may be material. Accordingly, no definitive
 representation can be or is being made with respect to the accuracy of the Financial Projections or the ability of
 the Company to achieve the projected results of operations, financial condition, or cash flow. In deciding whether
 to vote to accept or reject the Plan, Holders of Claims entitled to vote to accept or reject the Plan should make
 their own determinations as to the reasonableness of such assumptions and the reliability of the Financial
 Projections.

 Business Overview

         WeWork is a flexible workspace provider, offering affordable and community-centered office
 space to both large and small businesses as well as individuals who previously struggled to find dedicated
 workspaces. WeWork’s customer base includes individuals and companies across six continents, from
 Fortune 500 companies to small startups. Customers can choose from a suite of WeWork services
 depending on their unique commercial needs.

          WeWork’s core offering is its traditional “space-as-a-service” products, which offer members
 access to flexible workspace and related business amenities and services. Flexibility is provided by offering
 Member Companies access to dedicated workspaces on a month-to-month or fixed-term basis. Member
 Companies have the option to choose the type of membership that best fits their needs, with a range of
 flexible offerings that provide access on an hourly, daily, or monthly-subscription basis or through a multi-
 year membership agreement. Membership also allows for access to ancillary amenities on a pay-to-use-
 basis that are not included in monthly membership or are in excess of monthly allowances.

         In addition to WeWork’s core space-as-a-service offering, the Debtors also generate revenue from:
         i.       WeWork Workplace, a proprietary office management software platform that allows
                  subscribers to manage and optimize their workspaces in exchange for a monthly licensing
                  fee; and
         ii.      Franchising, Licensing arrangements, and Joint Ventures.

          With a global presence on six continents and in thirty-seven countries, WeWork is one of the largest
 flexible space providers in the world, with a go-forward portfolio of approximately 24 million rentable
 square feet globally, including approximately 12 million rentable square feet in the United States and
 Canada. Beginning in September 2023, WeWork, with the assistance of its advisors, led initially by Hilco,
 began engaging with hundreds of landlords to secure amendments or exits to substantially all of its real
 estate leases as part of an accelerated and comprehensive lease rationalization on a global scale. As of the
 beginning of April 2024, the Company has reached agreement on amending the leases at over 170 locations
 and exiting more than 160 locations, resulting in more than $800 million in annual rent savings. The pro
 forma footprint at emergence is expected to be smaller and more profitable, with a total of 337 locations,
 consisting of 178 domestic locations across 38 cities in the US and Canada and 159 international locations
 across 21 countries.



                                                         3
Case 23-19865-JKS      Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10               Desc Main
                              Document     Page 13 of 31


         WeWork is currently listed on OTC Markets under the ticker symbol WEWKQ and was formerly
 publicly traded on the New York Stock Exchange under the ticker symbol WE.




                                                4
 Case 23-19865-JKS            Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                   Desc Main
                                     Document     Page 14 of 31


                                                 WeWork Inc.
                                       Projected Statement of Operations

($ in millions)                                           6/1/2024   1/1/2025   1/1/2026   1/1/2027   1/1/2028
Non-GAAP and Unaudited                                   12/31/2024 12/31/2025 12/31/2026 12/31/2027 12/31/2028

                                                 Notes       FY2024     FY2025     FY2026     FY2027     FY2028


 Projected Statement of Operations


Net License Fee                                   [1]        $1,007     $1,824     $1,926     $2,014     $2,107
Access Revenue                                    [2]           117        192        197        202        207
Ancillary & Service Revenue                       [3]            52         91         96        101        105
Penalties & Set Up Fees                           [4]            33         59         61         63         65
Other Revenues                                    [5]            21         33         33         33         33
Total Revenue                                                $1,231     $2,200     $2,314     $2,413     $2,517

Occupany Costs                                    [6]         (739)     (1,250)    (1,279)    (1,313)    (1,360)
Building Operating Expenses                       [7]         (196)       (341)      (352)      (363)      (374)
Building Profit                                               $296        $609       $682       $737       $784

Indirect Operating Expenses                       [8]          (68)      (123)      (128)      (133)      (138)
Market Contribution Margin                                    $228       $486       $554       $604       $646

SG&A                                              [9]         (183)      (302)      (302)      (302)      (302)
Cash AEBITDA                                                   $45       $184       $252       $302       $344



Memo: Cash AEBITDA to Net Income Walk
Cash AEBITDA                                                   $45       $184       $252       $302       $344
- Interest Expense & Other Non-Recurring Costs    [10]          (15)       (6)        (6)        (5)        (5)
- Taxes                                           [11]            –        (8)       (18)       (25)       (32)
- Non-Cash Adjustments                            [12]          (45)      (68)       (26)        16         35
Net Income / (Loss)                                            ($15)     $101       $202       $288       $343


Key Drivers & Metrics


Ending Locations                                             335           330        329        329        329
Ending Workstation Capacity                              391,909       387,239    386,589    386,589    386,589
Ending Physical Members                                  297,319       307,633    316,339    321,108    327,330
Occupancy %                                                 75.9%         79.4%      81.8%      83.1%      84.7%
Physical Member ARPM                                       $493          $503       $514       $528       $538
Square Footage (M)                                          24.5          24.3       24.2       24.2       24.2
Revenue Per Square Foot                                    $81.1         $85.8      $90.5      $94.6      $98.9
Cash Occupancy Per Square Foot                             $50.8         $50.7      $52.0      $53.3      $55.2
Building Opex Per Square Foot                              $13.7         $14.0      $14.5      $15.0      $15.4




                                                         5
Case 23-19865-JKS        Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                       Desc Main
                                Document     Page 15 of 31


 Notes to Projected Statement of Operations

        Revenues

             The company’s revenue includes membership and service revenue as well as other
             revenue as described below.

        1)      NLF Revenue: Net License Fee (NLF) revenue represents membership fees, net of
                discounts, from sales of WeWork memberships for a specific WeWork location. The price
                of each membership varies based on the type of workplace solution selected by the
                member, the geographic location, and any monthly allowances for business services, such
                as conference room reservations and printing or copying allotments, that are included in
                the base membership fee. The projections assume an average growth rate of ~4.9% per
                annum from FY’25 through FY’28. NLF revenue forecast is driven by members and
                Average Revenue Per Member (ARPM). No new locations are assumed to be added during
                the forecast period and membership growth at existing locations is projected to offset churn
                and rise to target occupancy levels. New locations would require additional capital and
                would only be pursued if accretive to the business and driven by market demand. Forecast
                assumes ~2.5% ARPM growth from FY’25 through FY’28 to offset cost increases during
                the same period.

        2)      Access Revenue: Represents membership fees, net of discounts, from sales of WeWork
                All Access and On Demand revenue. These services are a monthly subscription offering
                that provides members with access to participating WeWork locations and allows for
                booking of workspaces, conference rooms and private offices right from their phones. The
                forecast assumes an average growth rate of approximately 2.5% per annum from FY’25
                through FY’28.

        3)      Ancillary & Service Revenue: Represents revenue generated from value-add service
                offerings that compliment monthly membership and allow members to take advantage of
                amenities not included in their monthly membership or services in excess of their monthly
                allowances e.g., access to conference rooms, printing, photocopies, phone and IT services,
                parking fees and other services. Revenues are forecast as a percentage of NLF revenues,
                consistent with historical run rates.

        4)      Penalties & Set Up Fees: Forecast to grow approximately 3% per annum.

        5)      Other Revenues: Other revenue is inclusive of management fees, licensing fees, and
                franchise fees for India, South Africa, China, Israel, and Costa Rica. Revenues are expected
                to remain flat during the forecast period.

        Costs and Net Income Adjustments

        6)      Occupancy Costs: Includes rent and tenancy costs paid to landlords. The structure and
                amount of occupancy costs vary by location. Occupancy costs have been forecast at the
                location level consistent with the terms of the lease documents and any subsequent
                amendments or agreements. The Company is still actively negotiating with landlords.
                Where an agreement has not yet been reached with a landlord, the projections use best
                information currently available to make assumptions related to go-forward occupancy
                costs.


                                                    6
Case 23-19865-JKS     Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                        Desc Main
                             Document     Page 16 of 31


       7)    Building Operating Expenses: Costs associated with personnel and related costs for
             maintaining and operating each location. Examples of costs include cleaning, repair and
             maintenance, utilities, telecom, consumables, building technology, and other expenses.
             Building Operating Expenses are forecast at the location level and assumed to grow
             between 2.5% to 3% per annum through FY28.

       8)    Indirect Operating Expenses: Costs of staff and related expenses for the teams that run
             community operations, such as member relations, natural new member sales and member
             retention, and facilities management. They also include bad debt expense. Variable costs
             are forecast to increase proportionate with NLF revenue, while fixed costs are projected to
             stabilize as the Company actively controls costs and actions various cost savings initiatives.

       9)    Selling General & Administrative (SG&A) expenses: Expenses related to personnel costs
             and corporate employees, technology, consulting, legal and other professional services
             expenses, and costs of corporate offices, such as costs associated with billings, collections,
             purchasing and accounts payable functions. General sales and marketing efforts, such as
             advertising costs, and other overhead costs are also part of SG&A expenses. SG&A
             expenses are projected to decline slightly through FY24 and remain flat thereafter.

       10)   Interest Expense and Other Costs: Primarily includes interest expense associated with $400
             million exit LC Facility at 170bps per annum. Interest expense decreases annually as LCs
             are assumed to burndown over time. In addition to interest expense, the forecast includes
             certain non-recurring costs in 3Q24 related to restructuring items.

       11)   Cash Taxes: Estimated cash taxes based on a preliminary analysis by the Debtors’ tax team
             and reflect U.S. federal income tax treatment of the Debtors’ tax attributes under Section
             382(l)(6) of the Internal Revenue Code of 1986, as amended (the “Code”), and numerous
             other assumptions. The Debtors expect that actual cash taxes may vary significantly based
             on a variety of factors, including the Debtors’ economic performance, the form of their
             restructuring transactions, and the availability of their tax attributes. Using such
             assumptions, the projections reflect an aggregate of approximately $83 million in cash
             income taxes payable from FY’24 through FY’28.

       12)   Non-Cash Adjustments: Primarily related to depreciation expense and other non-cash
             accounting items included in net income.




                                                  7
 Case 23-19865-JKS              Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                   Desc Main
                                       Document     Page 17 of 31


                                               WeWork Inc.
                        Projected Pro Forma Balance Sheet (Non-GAAP and Unaudited)

($ in millions)                                           Fcst        Fcst         Fcst        Fcst        Fcst
Non-GAAP and Unaudited                                   FY2024      FY2025       FY2026      FY2027      FY2028


 Projected Consolidated Balance Sheet


Cash and Cash Equivalents                                    $341      $411        $545        $720         $934
Accounts Receivable and Accrued Revenue, net                   83        88          93           96         100
Prepaid Expenses                                              113       115         117         119          120
Other Current Assets                                          170       170         170         170          170
Total Current Assets                                         $707      $784        $925       $1,105       $1,324

Property and Equipment, net                                  1,976     1,788       1,620       1,475        1,345
Lease Right-of-Use Assets, net                               2,348     2,274       2,174       2,036        1,868
Non-Current Assets                                             858       858         858         858          858
Total Long-Term Assets                                      $5,181    $4,920      $4,651      $4,369       $4,071

Total Assets                                                $5,889    $5,704      $5,576      $5,474       $5,395

Accounts Payable & Accrued Expenses                           243       242          243         243         244
Members’ Service Retainers                                    280       287          291         293         297
Other Current Liabilities                                     426       413          403         389         374
 Total Current Liabilities                                   $949      $942         $937        $926        $915

Lease Obligations                                            3,966     3,686       3,360       2,979        2,566
Other Non-Current Liabilities                                  123       123         123         123          123
 Total Long-Term Liabilities                                $4,089    $3,809      $3,483      $3,103       $2,690

Total Liabilities                                           $5,038    $4,751      $4,420      $4,028       $3,604
Total Equity                                                 $851      $953       $1,157      $1,446       $1,790

Total Liabilities & Equity                                  $5,889    $5,704      $5,576      $5,474       $5,395




   Notes to Projected Pro Forma Balance Sheet

   Lease Related Assets and Liabilities

           Lease Right of Use Assets (“ROU”) and Long-Term Lease Obligations on the Pro Forma balance
   sheet have been adjusted to reflect modified lease terms as a result of completed negotiations and expected
   outcomes related to ongoing negotiations. In accordance with ASC 842, Leases, a lease obligation and
   corresponding right-of-use asset are recognized based on the initial present value of the fixed lease
   payments using the Company’s incremental borrowing rates for the portfolio of leases. The incremental
   borrowing rate represents the rate of interest the Company would have to pay to borrow over a similar term,
   and with a similar security, in a similar economic environment, an amount equal to the fixed lease payments.
   The Company’s leases do not provide a readily determinable implicit discount rate. Therefore, management
   estimates the incremental borrowing rate used to discount the lease payments based on the information
   available at lease commencement. The Company utilized a model consistent with the credit quality of their

                                                        8
Case 23-19865-JKS          Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                       Desc Main
                                  Document     Page 18 of 31


 outstanding debt instruments to estimate their specific incremental borrowing rates that align with
 applicable lease terms.


 Capital Structure and Liquidity

         The Pro Forma balance sheet accounts for the reorganization and related adjustments pursuant to
 the Plan, and assumes a $400 million capital contribution at emergence. The new debt-light capital structure
 enables the Company to maintain a sufficient minimum cash balance and fund obligations arising under the
 Financial Projections and the business plan with operating cash flow and cash on hand.

          The company maintains a Letter of Credit (LC) facility primarily utilized as security in its lease
 agreements with landlords. The LC facility is fully funded by a cash collateral reserve and may be utilized
 under specific circumstances, the likelihood of which is uncertain and dependent on future events. The
 corresponding liability and asset are not reflected on the balance sheet. The liability associated with the LC
 facility is fully offset by a corresponding asset, resulting in no impact on the company’s net assets as
 currently presented.

 Equity

         The Reorganized Debtors’ equity value is assumed to be $765 million as of the Effective Date, as
 per the mid-point of the Valuation Analysis. The Financial Projections assume no dividends are paid during
 the Projection Period.

 Reorganization and Fresh-Start Adjustments

          Pursuant to the Reorganization Plan, reorganization adjustments include distribution of the
 Reorganized Debtors’ equity, debt and cash in exchange for certain pre-petition claims, adjustments to
 certain asset balances, cancellation of certain pre-petition liabilities subject to compromise, entry into new
 exit financing, payment of estimated administrative due on the Effective Date, and additional emergence
 costs.




                                                       9
 Case 23-19865-JKS             Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                      Desc Main
                                      Document     Page 19 of 31


                                               WeWork Inc.
                         Projected Pro Forma Cash Flows (Non-GAAP and Unaudited)


($ in millions)                                           6/1/2024   1/1/2025   1/1/2026   1/1/2027   1/1/2028
Non-GAAP and Unaudited                                  12/31/2024 12/31/2025 12/31/2026 12/31/2027 12/31/2028

                                                          FY2024       FY2025       FY2026      FY2027       FY2028


 Projected Statement of Cash Flow


Net Income/(Loss)                                            ($15)       $101        $202         $288        $343
Non-Cash Adjustments
  Depreciation and amortization                               184         288          268         245             230
  Other Non-Cash Adjustments                                 (139)       (220)        (242)       (261)           (265)
Changes in Working Capital                                      7          (6)           2           2               2
Net cash provided by (used in) operating activities           $37        $163         $230        $273            $310

Capital Expenditures & Capitalized Software                  (49)        (100)        (100)        (100)       (100)
Proceeds from Sale of Subsidiary                             100            –            –            –           –
Net cash provided by (used in) investing activities          $52        ($100)       ($100)       ($100)      ($100)

Net change in membership service retainers                     12            7           4            2              4
Net cash provided by (used in) financing activities           $12           $7          $4           $2             $4

Change in Cash                                               $100         $70         $134        $175            $213

Beginning Cash                                                $240         $341        $411         $545           $720
Ending Cash                                                   $341         $411        $545         $720           $934


   Notes to Projected Pro Forma Cash Flows

   Changes in Working Capital: The Financial Projections assume the Reorganized Debtors’ working capital
   accounts, including accounts receivable, accounts payable and others, continue to perform according to
   the historical relationships with respect to revenue and expense activity. Notably, this assumes all vendors
   are treated consistent with agreed upon payment terms.

   Capital Expenditures: Primarily related to investments required to maintain current locations.

   Proceed from Sale of Subsidiary: Reflects sale of India and final installment related to sale of interest in
   Japan.

   Net change in membership service retainers: The Financial Projections forecast member service retainers
   based on member growth. Net change in membership service retainers decreases as locations reach target
   occupancy and member growth stabilizes.




                                                        10
Case 23-19865-JKS   Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10   Desc Main
                           Document     Page 20 of 31



                                    Exhibit F
                               Liquidation Analysis




                                        6
Case 23-19865-JKS          Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                         Desc Main
                                  Document     Page 21 of 31


                                             Liquidation Analysis
     I.       INTRODUCTION
      Section 1129(a)(7)(A)(i)–(ii) of the Bankruptcy Code, often called the “best interests” test, requires that
 “[w]ith respect to each impaired class of claims or interests each holder of a claim or interest of such class
 (i) has accepted the plan; or (ii) will receive or retain under the plan on account of such claim or interest
 property of a value, as of the effective date of the plan, that is not less than the amount that such holder
 would so receive or retain if the debtor were liquidated under chapter 7 of this title on such date.”
     The Debtors, with assistance from their restructuring advisors, have prepared the following hypothetical
 liquidation analysis (the “Liquidation Analysis”) in connection with the Plan and Disclosure Statement.1
 The Liquidation Analysis is based on certain assumptions in the Disclosure Statement and in the
 accompanying notes to the Liquidation Analysis. The values discussed in the Liquidation Analysis may be
 different from amounts referred to in the Plan, which does not contemplate a liquidation.
      The Liquidation Analysis shows the estimated recoveries that may be obtained by each Class of Claims
 or Interests assuming a hypothetical liquidation under chapter 7 of the Bankruptcy Code. As illustrated by
 the Liquidation Analysis, Holders of Claims in certain Unimpaired Classes that would receive a full
 recovery under the Plan would receive less than a full recovery in a hypothetical liquidation under chapter 7
 of the Bankruptcy Code. Additionally, Holders of Claims or Interests in Impaired Classes would receive a
 recovery on account of their Claims or Interest in a hypothetical liquidation under chapter 7 of the
 Bankruptcy Code that is no better than the recovery they would receive on account of their Claims or
 Interests under the Plan. Furthermore, no Holder of a Claim or Interest would receive or retain property on
 account of their Claim or Interest under the Plan of a value that is less than such Holder would receive on
 account of such Claim or Interest in a hypothetical chapter 7 liquidation. Accordingly, as described in
 greater detail below, the Plan satisfies the “best interests” test set forth in section 1129(a)(7)(A)(i)–(ii) of
 the Bankruptcy Code.
     II.      OVERVIEW AND GENERAL ASSUMPTIONS
     Hypothetical chapter 7 recoveries set forth in the Liquidation Analysis were determined through
 multiple steps, as set forth below. The basis of the Liquidation Analysis is the Debtors’ projected cash
 balance and assets as of May 31, 2024 (the “Conversion Date”) and the net costs to execute the
 administration of the liquidation of the Estates. The Liquidation Analysis assumes that the Debtors would
 commence a chapter 7 liquidation on or about the Conversion Date under the supervision of a single
 court‑appointed chapter 7 trustee (a “Trustee”). The selection of a separate chapter 7 trustee for one or
 more of the Estates likely would result in substantially higher administrative expenses associated with the
 chapter 7 cases from a large duplication of effort by each trustee and their professionals.
 Summary Notes to Liquidation Analysis:
           1. Dependence on Assumptions. The Liquidation Analysis depends on several assumptions.
              These assumptions were developed and considered reasonable by the Debtors’ management

 1
     Unless otherwise specified, capitalized terms used but not otherwise defined herein shall have the meanings
     ascribed to them in the Disclosure Statement Relating to the First Amended Joint Chapter 11 Plan of
     Reorganization of WeWork Inc. and Its Debtor Affiliates [Docket No. 1690] (as may be amended, supplemented,
     or modified from time to Time, the “Disclosure Statement”) or the First Amended Joint Chapter 11 Plan of
     Reorganization of WeWork Inc. and Its Debtor Affiliates [Docket No. 1691] (as amended, supplemented, or
     modified from time to time, the “Plan”), as applicable.
Case 23-19865-JKS       Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                       Desc Main
                               Document     Page 22 of 31


           team and restructuring advisors. The Liquidation Analysis is also based on the Debtors’ best
           judgment of how numerous decisions in the hypothetical liquidation process would be resolved.

       2. Dependence on a Forecast Balance Sheet. The Liquidation Analysis primarily utilizes the
          book values of the Debtors’ assets and liabilities as of December 31, 2023, as a starting point,
          or more recent values where available. The Debtors’ management team believes that the
          December 31, 2023, book value of certain assets and liabilities are an acceptable proxy for
          certain book values as of the Conversion Date, whereas other balances are projected
          (e.g., cash).

       3. DIP Facilities Assumptions. The Liquidation Analysis assumes that, upon conversion of the
          Debtors’ Chapter 11 Cases to chapter 7 cases, parties to the DIP New Money Facility and the
          DIP LC/TLC Facility will seek relief from the automatic stay to foreclose on the Debtors’ assets
          under the Bankruptcy Court’s jurisdiction to recover on their outstanding Claims. For purposes
          of the Liquidation Analysis, it is assumed that the conversion from chapter 11 to chapter 7
          would take place on the Conversion Date and that the lenders under the DIP New Money
          Facility and the DIP LC/TLC Facility would have the ability to recover on their respective
          collateral under such facilities. Furthermore, for purposes of this Liquation Analysis, it is
          assumed that all Debtor entities will be subject to liens and related encumbrances under the
          DIP New Money Facility.

       4. Chapter 7 Liquidation Process. The liquidation of the Debtors’ assets and the Estates are
          assumed to be managed by a Trustee and largely completed over a three-month period. The
          Trustee would oversee the liquidation, during which all of the Debtors’ assets would be sold or
          surrendered and the cash proceeds, net of liquidation-related costs, would then be distributed
          to creditors in accordance with applicable law. There can be no assurance, however, that the
          liquidation would be completed within a certain timeframe, nor is there any assurance that the
          recoveries assigned to the assets would in fact be realized. In accordance with section 704 of
          the Bankruptcy Code, a Trustee must, among other duties, collect and convert the property of
          the estate as expeditiously as is compatible with the best interests of parties in interest
          (generally at distressed prices). A Trustee would also appoint professionals (e.g., attorneys,
          investment bankers, financial advisors, accountants and tax advisors, consultants, appraisers
          and liquidators, and other experts) to assist in the liquidation as necessary. Costs for a Trustee
          and supporting chapter 7 professionals are estimated in the Liquidation Costs section below
          (section VI).

               ▪   In this hypothetical chapter 7 liquidation, it is assumed a Trustee would shut down
                   operations as quickly as possible by rejecting and exiting leases at all wholly owned
                   locations to preserve what cash remains while they attempt to monetize the remaining
                   assets. Without additional liquidity to fund a sales process and given the many
                   operational risks noted below, it is unlikely a Trustee would try to effectuate a sale of
                   the business or individual locations. Instead, the Trustee’s focus would be on the
                   collection of open accounts receivable invoices, the selling of any furniture, fixtures,
                   and equipment (“FF&E”) that can be easily removed from the lease locations, and
                   recovery of certain prepaid assets, prepaid taxes, deposits, and other receivables.




                                                    2
Case 23-19865-JKS       Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                       Desc Main
                               Document     Page 23 of 31


               ▪   The Trustee would need to consider various risks of continuing to operate in chapter 7.
                   The ability to maintain employee and vendor support would be at risk due to
                   non‑payment of chapter 11 administrative expenses as a result of the conversion. Loss
                   of employees and vendor disruption would likely hinder the Trustee’s ability to operate
                   the buildings and provide the experience expected by the Company’s members. The
                   supporting technology and back office support would be impacted, further damaging
                   the member experience. For all of these reasons, member churn would likely increase
                   after a liquidation is announced. Furthermore, the sales team’s ability to maintain new
                   member sales would be similarly harmed. Certain revenue streams, including all
                   location access memberships and day bookings, could quickly decline. Enterprise
                   customers would begin to look for alternatives and potentially exit memberships early.

               ▪   The foreign operations would similarly be impacted by this liquidation. Additional
                   legal entities providing lease guarantees would become debtors in the chapter 7 leading
                   to additional issues with foreign landlords. No funding would be available from the
                   U.S. parent entity. It is estimated that all foreign locations would also be required to
                   stop operations in order to limit liability and losses on future trading.

               ▪   The remaining joint venture interests are projected to be sold or liquidated after the
                   Conversion Date.

               ▪   The Liquidation Analysis assumes that lenders under the DIP New Money financing
                   facility would seek to recover first from otherwise unencumbered assets before seeking
                   to recover from assets encumbered by prepetition liens.

       5. Non-Debtors. The Liquidation Analysis assumes all wholly owned U.S. non-debtors would
          commence proceedings in chapter 7 and all wholly owned foreign legal entities would begin
          liquidation processes in their respective countries under local rules. The Liquidation Analysis
          assumes that any asset proceeds are used to (i) satisfy the liquidation costs arising from the
          liquidation of that legal entity; and (ii) satisfy indebtedness outstanding with respect to Claims
          against those entities, according to the priority waterfall pursuant to local rules. The material
          assumptions of the non-debtors’ hypothetical liquidation analyses are substantially consistent
          with the assumptions underlying the liquidation of the Debtors. The interests in non-debtor
          joint ventures are assumed to be sold by a Trustee, with the net proceeds available at the
          respective parent entity.

       6. Claims Estimates. In preparing the Liquidation Analysis, the Debtors and their advisors
          developed preliminary estimates of Allowed Claims and Allowed Administrative Claims for
          each Class based upon a review of the Debtors’ estimated balance sheet. Additional Claims
          were estimated to include certain chapter 7 administrative obligations incurred after the
          Conversion Date. As explained in Article VII.L of the Disclosure Statement, the Special
          Committee initiated an independent investigation into potential causes of action on account of,
          among other things, (i) fraudulent transfer; (ii) preference; (iii) breach of fiduciary duty and
          aiding and abetting breach of fiduciary duty; (iv) fraud; (v) recharacterization; and
          (vi) equitable subordination. In addition, the independent investigation has been evaluating
          claims raised by parties in interest, including the claims raised in the Motion of the Ad Hoc
          Group of Noteholders Requesting (I) the Appointment of an Examiner Pursuant to Section


                                                    3
Case 23-19865-JKS           Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                        Desc Main
                                   Document     Page 24 of 31


               1104(c) of the Bankruptcy Code, and (II) Derivative Standing to Prosecute Estate Causes of
               Action Filed by an Ad Hoc Group of Holders of Unsecured Notes [Docket No. 1337], and in
               the Motion for (I) Leave, Standing and Authority to Commence and Prosecute Certain Claims
               and Causes of Action on Behalf of Debtors Estates and (II) Exclusive Settlement Authority Filed
               by the Creditors Committee [Docket No. 1436]. The Debtors are not including any value for
               these potential claims. No order or finding has been entered or made by the Bankruptcy Court
               estimating or otherwise fixing the estimated amounts of Allowed Claims set forth in the
               Liquidation Analysis. The estimate of the amounts of Allowed Claims set forth in this
               Liquidation Analysis should not be relied upon for any determination of the value of any
               distribution to be made on account of Allowed Claims under the Plan. The Claims Bar Date
               was March 12, 2024, the Supplemental Stub Rent Bar Date was March 25, 2024, the
               Governmental Bar Date is May 6, 2024, and the Rejection Damages Bar Date that results from
               a rejection of an executory contract or lease is no later than thirty (30) days after the later of
               (i) entry of the order approving the Debtors’ rejection of the applicable executory contract or
               unexpired lease and (ii) the effective date of such rejection. The Debtors will reconcile such
               claims for a period thereafter.

           7. Distributions of Net Proceeds to Claimants. The analysis was performed on a legal
              entity‑by‑entity basis. The value received by the Debtors from non-debtors entities are shown
              through the intercompany asset row (recovery on account of intercompany receivables from
              those entities to U.S. Debtors pursuant to local liquidation rules). Any available net proceeds
              would be allocated to the applicable Holders of Claims and Interests of each Debtor in strict
              priority in accordance with section 726 of the Bankruptcy Code.

    III.       CONCLUSION


  AS SUMMARIZED IN THE FOLLOWING ANALYSIS, CONFIRMATION OF THE PLAN
  WILL PROVIDE CREDITORS WITH A RECOVERY ON ACCOUNT OF THEIR CLAIMS
  THAT IS NOT LESS THAN WHAT THEY WOULD OTHERWISE RECEIVE ON ACCOUNT
  OF THEIR CLAIMS IN CONNECTION WITH A LIQUIDATION OF THE DEBTORS UNDER
  CHAPTER 7 OF THE BANKRUPTCY CODE.




                                                        4
Case 23-19865-JKS                                    Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                                                                         Desc Main
                                                            Document     Page 25 of 31


          IV.             LIQUIDATION ANALYSIS RESULTS
 The following pages present the results for the hypothetical liquidation of the Debtors.2


 Conversion Date: 5/31/2024                                                                                                              All Debtor Entities


                                                                                            Estimated         Asset Recovery Estimate (%)              Asset Recovery Estimate ($mm)
 Assets                                                          Notes                   Book Value ($mm)       Low                 High                       Low               High


 Gross Liquidation Proceeds:
 Cash and Cash Equivalents                                        [1]                                 $75.7           100.0%             100.0%                       $75.7             $75.7
 Accounts Receivable                                              [2]                                  44.4           53.2%                77.8%                       23.6              34.6
 Prepaid Expenses                                                 [3]                                  73.3            8.8%                12.9%                        6.4                9.4
 Intercompany Assets                                              [4]                             2,484.0              3.4%                4.5%                        85.2             111.1
 Furniture, Fixtures, and Equipment                               [5]                             1,448.1              0.8%                2.5%                        11.9              35.6
 Other Assets                                                     [6]                                  50.5           26.0%                34.8%                       13.2              17.6
 Lease Right-of-Use Assets                                        [7]                             2,319.9                 -                   -                           -                  -
 Intangible Assets                                                [8]                                 652.9               -                   -                           -                  -
 Investment In Subsidiaries                                       [9]                             2,660.9                 -                   -                           -                  -
 A: Gross Liquidation Proceeds                                                                   $9,809.7              2.2%                 2.9%                     $216.0         $284.1



                                                                                                                                                           Expense Estimate ($mm)
 Less: Liquidation Costs:                                        Notes                                                                                         Low               High
 Operating and Overhead Expenses                                 [ 10 ]                                                                                              ($23.0)            ($23.0)
 Professional Fees Carve Out                                     [ 11 ]                                                                                               (75.0)             (75.0)
 Chapter 7 Professional Fees                                     [ 12 ]                                                                                                (3.9)              (5.2)
 Chapter 7 Trustee Fees                                          [ 13 ]                                                                                                (3.9)              (5.2)
 B: Liquidation Costs                                                                                                                                            ($105.8)           ($108.4)



 A-B: Net Liquidation Proceeds Available for Distribution to Creditors                                                                                               $110.2         $175.7



                                                                                                                   All Debtor Entities


                                                                          Estimated Claims ($mm)              Claim Recovery Estimate (%)              Claim Recovery Estimate ($mm)
 Liquidation Claims:                                             Notes    Low                  High             Low                 High                       Low               High
 DIP New Money Claims                                            [ 14 ]          $50.0                $50.0           100.0%             100.0%                       $50.0             $50.0
 DIP TLC Claims (secured; 1L pari)                               [ 15 ]         $671.2             $671.2              2.2%                4.5%                       $14.5             $30.2
 Prepetition LC Facility Claims (secured; 1L pari)               [ 16 ]          958.0                958.0            2.2%                4.5%                        20.6              43.1
 1L Notes Claims (secured; 1L pari)                              [ 17 ]      1,163.6              1,163.6              2.2%                4.5%                        25.1              52.4
 2L Notes Claims (secured, 2L)                                   [ 18 ]          933.0                933.0               -                   -                           -                  -
 3L Notes Claims (secured, 3L)                                   [ 19 ]          313.4                313.4               -                   -                           -                  -
 Administrative Claims                                           [ 20 ]          442.4                443.3               -                   -                           -                  -
 Priority Claims                                                 [ 21 ]           35.8                 35.8               -                   -                           -                  -
 Unsecured Notes Claims                                          [ 22 ]          179.6                179.6               -                   -                           -                  -
 General Unsecured Claims                                        [ 23 ]     26,507.0             26,434.8                 -                   -                           -                  -
 Claims / Claim Recovery                                                   $31,254.1            $31,182.8              0.4%                 0.6%                     $110.2         $175.7


 Memo: General Unsecured Claims Detail
 General Unsecured Claims (Other)                                           $4,018.5             $4,017.6                 -                   -                           -                  -
 Intercompany Claims                                                        17,147.2             17,147.2                 -                   -                           -                  -
 Deficiency Claims                                                           3,979.1              3,913.6                 -                   -                           -                  -
 Parent Guaranty Claims                                                         993.7                 989.0               -                   -                           -                  -
 Indemnification Claims                                                         368.4                 367.3               -                   -                           -                  -
 Total General Unsecured Claims                                            $26,507.0            $26,434.8                 -                   -                           -                  -




 2
          The estimated Claims on this and the following pages may differ from the estimated Claims included in the
          Disclosure Statement because of differing assumptions between a Chapter 11 reorganization and a hypothetical
          chapter 7 liquidation.


                                                                                           5
Case 23-19865-JKS           Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                             Desc Main
                                   Document     Page 26 of 31


     V.       NOTES FOR PROCEEDS AVAILABLE FOR DISTRIBUTION
 Note [1] – Cash and Cash Equivalents
 The Liquidation Analysis assumes 100% recovery on the projected cash balance at the Conversion Date.3
 Note [2] – Accounts Receivable
 Accounts receivable consists primarily of receivables from members, credit card sales, landlord receivables,
 and other miscellaneous receivables. Recovery on customer accounts receivable invoices includes the
 impact of member service retainers that customers would likely set off against balances owed, the belief
 that collection efforts of the Trustee would focus on the larger customer balances, and assumes that certain
 accounts would be settled at less than the full amounts owed when disputed. Credit card reimbursements,
 landlord receivables, and other receivables were analyzed separately. The resulting recovery assumes a
 blended recovery between 53.2% and 77.8%.
 Note [3] – Prepaid Expenses
 Prepaid expenses consist of amounts related to insurance contracts, software licenses, professional service
 retainers, and other prepaid expenses. Insurance policies were analyzed for cancellation clauses, license
 contracts were reviewed, and other prepaid expense categories were reviewed. The resulting recovery
 assumes a blended recovery between 8.8% and 12.9%.
 Note [4] – Intercompany Assets
 The Liquidation Analysis assumes that all ordinary course intercompany claims are Allowed in the amount
 set forth herein as of the Conversion Date. The U.S. Debtors’ intercompany claims are shown as
 administrative claims for postpetition periods and general unsecured claims for the prepetition period. All
 other entities have only general unsecured claims as of the Conversion Date.4 The result is a blended
 recovery between 3.4% and 4.5%. For the avoidance of doubt, the intercompany amounts shown as
 recovered by the Debtors in the Liquidation Analysis Results section include only amounts received from
 non-Debtors.




 3
     The Debtors’ cash balance does not include the ~$640 million of cash remaining (as of 2/29/2024) in the DIP LC
     Loan Collateral Accounts cash collateralizing the DIP LC Facility pursuant to the Order (I) Authorizing the
     Debtors to Obtain Postpetition Financing, (II) Granting Liens and Providing Claims With Superpriority
     Administrative Expense Status, (III) Modifying the Automatic Stay, and (IV) Granting Related Relief [Docket No.
     427] (the “DIP LC/TLC Order”). See DIP LC/TLC Order ¶ 5 (“Other than the DIP LC Secured Parties and, upon
     the Deemed Assignment, the DIP Term Lender, no party shall have any right to the DIP LC Loan Collateral
     (including, for the avoidance of doubt, the DIP LC Loan Collateral Accounts).”). Although the Debtors retain a
     reversionary interest in the DIP LC Cash Collateral, such interest is not expected to lead to any recovery in a
     chapter 7 liquidation due to the rights of the DIP LC Secured Parties and, upon the Deemed Assignment, the DIP
     Term Lender, with respect to the DIP LC Cash Collateral and the outstanding obligations owed to the DIP LC
     Secured Parties and the DIP Term Lender equaling or exceeding the DIP LC Cash Collateral amounts. See id.
     (“The DIP LC Loan Collateral is for the sole and exclusive benefit of the DIP LC Secured Parties unless and until
     a Deemed Assignment, at which time the DIP LC Loan Collateral will be for the sole and exclusive benefit of the
     DIP Term Lender . . . .”).
 4
     In certain international jurisdictions, intercompany claims are subordinated to other general unsecured claims
     pursuant to local rules.


                                                          6
Case 23-19865-JKS          Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                       Desc Main
                                  Document     Page 27 of 31


 Note [5] – Furniture, Fixtures, and Equipment
 Furniture, fixtures, and equipment (“FF&E”) consists of office furniture, kitchen appliances, computers,
 networking and related audio/video equipment, and other miscellaneous assets. The assumed recoveries
 exclude any recoveries on account of leasehold improvements and construction in progress assets. The
 Liquidation Analysis assumes that the chapter 7 Trustee would attempt to monetize certain FF&E assets
 when profitable (i.e., where the cost of removing, warehousing, marketing, and transporting is less than the
 realizable market value of the used assets sold in a compressed period of time). Where not profitable, FF&E
 would be abandoned. The result is a blended recovery between 0.8% and 2.5%.
 Note [6] – Other Assets
 Other assets consist of tax assets and other deposits. The liquidation analysis assumes that tax attributes
 associated with net operating losses (“NOLs”) would not be monetizable in the liquidation as contemplated.
 U.S. tax rules impose material restrictions on the usability of NOLs following an ownership change, and
 the company does not expect to be able to use its NOLs under these restrictions. Certain VAT and deferred
 tax assets outside of the U.S. would likely be recoverable and estimates for those are included in the local
 jurisdictions’ liquidation analyses. The result is a blended recovery between 26.0% and 34.8%.
 Note [7] – Lease Right of Use Assets
 Lease right-of-use assets and corresponding lease obligations are recorded at lease commencement and are
 evaluated for recoverability when events or changes in circumstances impact future cash flows expected to
 result from the continued use of the asset. After the Conversion Date, there are no future cash flows expected
 to result from the continued use of the lease assets and therefore there is no assumed recovery.
 Note [8] – Intangible Assets
 Intangible assets consist of registered and non-registered intellectual property (“IP”) and other
 miscellaneous intangible assets. IP primarily consists of trademarks, copyrights, patents, domain names,
 and other miscellaneous intangible assets. Due to the liquidation of the estate and discontinuance of global
 operations, there is no assumed recovery.
 Note [9] – Investment in Subsidiaries
 Investment in subsidiaries represents the recorded investment values in each of the Debtor entities’ direct
 foreign subsidiaries. There are no expected equity recoveries from non-Debtor subsidiaries to Debtors.
     VI.     NOTES FOR LIQUIDATION COSTS
 Note [10] – Operating and Overhead Expenses
 As stated above, the liquidation of the Debtors’ assets and liquidation of the Estates are assumed to be
 largely completed over a three-month period as managed by a chapter 7 trustee with the continuing support
 of a subset of the company’s current employees and chapter 7 professionals. Operating and overhead
 expenses consist of employee costs as well as a minimal level of vendor expenses and rents. It is assumed
 that all Debtor leases would be rejected on or around the Conversion Date with all non-Debtor leases also
 exited through local insolvency procedures. The main ongoing operating activities would be the collection
 of open accounts receivable invoices, attempted monetization of other balance sheet assets including FF&E,
 prepaid and other assets (as described above), support for the liquidation of foreign operations, and the
 maintenance of company books and statutory and tax-related filings.




                                                       7
Case 23-19865-JKS           Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                             Desc Main
                                   Document     Page 28 of 31


 Note [11] – Professional Fees Carve Out
 The carve out for professional fees was ordered pursuant to the Final Cash Collateral Order5 approved on
 December 11, 2023. The estimated Allowed Professional Fees as of the Conversion Date is $55 million
 and the estimate of Allowed Professional Fees after delivery of a Carve Out Trigger Notice is $20 million.
 Note [12] – Chapter 7 Professional Fees
 It is assumed that the chapter 7 trustee would hire certain professionals to assist with the management and
 liquidation of the Estate. Other professional fees are estimated to be 3% of gross proceeds available for
 distribution excluding value received from non-Debtors.
 Note [13] – Chapter 7 Trustee Fees
 Per statutory guidelines, the chapter 7 Trustee is eligible to receive compensation based on the gross
 proceeds available for distribution to interested parties. The Liquidation Analysis assumes a chapter 7
 Trustee fee of 3% of gross proceeds available for distribution excluding value received from non-Debtors.
     VII.     NOTES FOR SECURED CLAIMS6
 Note [14] – DIP New Money Claims7
 The Liquidation Analysis assumes that amounts outstanding under the DIP New Money Facility is $50.0
 million at the Conversion Date. The DIP New Money Facility is secured by superpriority priming liens
 upon substantially all of the Debtors’ assets, other than the DIP LC Loan Collateral Accounts or the DIP
 LC Loan Collateral, including a first priority senior secured lien upon all tangible and intangible prepetition
 and postpetition property of the Debtor non-guarantor parties. The DIP New Money Facility has priority
 over the DIP LC/TLC Facility and the prepetition letters of credit governed by the Prepetition LC Facility
 Documents with respect to such assets, provided that the liens securing the DIP New Money Facility are
 subject and subordinate to Carve Outs. The inclusion of certain Debtor non-guarantor parties to the DIP
 New Money Facility is subject to ongoing negotiations.
 Note [15] – DIP TLC Claims
 The DIP TLC Claims (Plan Class 3) are assumed to be $671.2 million, comprising the principal under the
 DIP LC/TLC Facility. The postpetition DIP TLC Claims rank junior to the DIP New Money Claims and
 pari passu with the Prepetition First Priority Liens8 and the First Lien Adequate Protection Liens held by
 the secured parties under the Prepetition LC Facility granted under the Cash Collateral Order.


 5
     Capitalized terms used but not otherwise defined in this Note [11] shall have the meaning ascribed to them in the
     Final Order (I) Authorizing the Debtors to Use Cash Collateral, (II) Granting Adequate Protection to the
     Prepetition Secured Parties, (III) Modifying the Automatic Stay and (IV) Granting Related Relief
     [Docket No. 428].
 6
     The aggregate amount of and the recovery estimate in a hypothetical chapter 7 for the Allowed Other Secured
     Claims (Plan Class 1) has not been calculated because no estimates of the value of the collateral securing the
     Allowed Other Secured Claims have been made. Under the Plan, Other Secured Claims are unimpaired.
 7
     Capitalized terms used but not otherwise defined in this Note [14] shall have the meaning ascribed to them in the
     DIP LC/TLC Order or the DIP New Money Order, as applicable.
 8
     Capitalized terms used but not otherwise defined in this Note [15] shall have the meaning ascribed to them in the
     DIP LC/TLC Order.


                                                          8
Case 23-19865-JKS           Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                          Desc Main
                                   Document     Page 29 of 31


 Note [16] – Prepetition LC Facility Claims
 The Prepetition LC Facility Claims (Plan Class 4A) are assumed to be $958.0 million, comprising principal,
 accrued interest and fees, and premiums as of the Conversion Date, which amount includes, for the
 avoidance of doubt, the amounts paid to achieve the Date of Full Satisfaction (as defined in the LC Facility
 Credit Agreement) and the amounts due under the Prepetition Reimbursement Agreement. The Prepetition
 LC Facility Claims include Claims under both the Senior LC Facility and the Junior LC Facility. The
 Prepetition LC Facility Claims benefit from first priority liens (which rank junior to the DIP New Money
 Claims and pari passu with the other first lien priority obligations) covering substantially all the assets of
 each guarantor Debtor entity.
 Note [17] – 1L Notes Claims
 The 1L Notes Claims (Plan Class 4B) are assumed to be $1,163.6 million, comprising principal, accrued
 interest, fees, and premiums as of the Conversion Date. The 1L Notes Claims include obligations under the
 Series I 1L Notes, Series II 1L Notes, and Series III 1L Notes.
 The 1L Notes Claims benefit from first priority liens (which rank junior to the DIP New Money Claims and
 pari passu with the other first lien priority obligations) covering substantially all the assets of each guarantor
 Debtor entity.
 Note [18] – 2L Notes Claims
 The 2L Notes Claims (Plan Class 5) are assumed to be $933.0 million, comprising principal, accrued
 interest, fees, and premiums as of the Conversion Date. The 2L Notes Claims include obligations under the
 2L Notes and the 2L Exchangeable Notes.
 The 2L Notes Claims benefit from second priority liens (which rank junior to the DIP New Money Claims
 and the first lien priority obligations) covering substantially all the assets of each guarantor Debtor entity.
 Note [19] – 3L Notes Claims
 The 3L Notes Claims (Plan Class 7) are assumed to be $313.4 million, comprising principal, accrued
 interest, fees, and premiums as of the Conversion Date. The 3L Notes Claims include obligations under the
 3L Notes and the 3L Exchangeable Notes.
 The 3L Notes Claims benefit from third priority liens (which rank junior to the DIP New Money Claims,
 first and second lien priority obligations) covering substantially all the assets of each guarantor Debtor
 entity.
     VIII.    NOTES FOR ADMINISTRATIVE AND PRIORITY CLAIMS
 Note [20] – Administrative Claims
 Administrative Claims include amounts such as claims pursuant to section 503(b)(9) of the Bankruptcy
 Code (“503(b)(9) Claims”), other postpetition accounts payable, deferred rent and stub rent, postpetition
 member service retainers, postpetition intercompany claims, and other Administrative Claims.
 Administrative Claims are estimated in the range of approximately $442.4 million to $443.3 million as of
 the Conversion Date.




                                                         9
Case 23-19865-JKS           Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                      Desc Main
                                   Document     Page 30 of 31


 Note [21] – Priority Claims
 Priority Claims (included in Plan Class 2) include amounts such as accrued and unpaid wages and benefits,
 payroll taxes, other taxes and fees, and other Priority Claims. Priority Claims are estimated at
 approximately $35.8 million as of the Conversion Date.


     IX.       NOTES FOR UNSECURED CLAIMS
 Note [22] – Unsecured Notes Claims
 The Unsecured Notes Claims (Plan Class 7) are assumed to be $179.6 million, comprising principal,
 accrued interest, and fees as of the Conversion Date. The Unsecured Note Claims include obligations under
 the 7.875% Senior Notes and the 5.000% Senior Notes, which were issued on an unsecured basis.
 Note [23] – General Unsecured Claims
 General Unsecured Claims (Plan Class 8) include estimated operating trade claims and prepetition deferred
 revenue, lease and contract rejection claims, prepetition member service retainers, litigation claims,
 indemnification claims, secured loan deficiency claims, and other unsecured claims estimated as of the
 Conversion Date. The General Unsecured Claims pool as shown in Section IV also includes Guaranty
 Claims (Class 9) and prepetition Intercompany Claims (Class 10). The Liquidation Analysis estimates the
 total General Unsecured Claims at a range from approximately $26.4 billion to $26.5 billion.

     •     Accounts payable represent the Debtors’ consolidated estimated prepetition accounts payable
           balance reduced by estimates of 503(b)(9) Claims.
     •     Rent rejection claims represent unpaid prepetition rent and estimated rejection damages claims
           arising from the Debtors’ rejection of certain unexpired leases pursuant to section 365 of the
           Bankruptcy Code as of the Conversion Date. Rent rejection claims were estimated on a
           property-by-property basis consistent with the Bankruptcy Code pursuant to section 502(b)(6)
           which limits claims to the greater of (a) one year’s rent; and (b) 15% of the remaining lease term,
           not to exceed three-years’ rent.
     •     Contract rejection claims represent the estimated rejection damage claims arising from the Debtors’
           rejection of certain executory contracts pursuant to section 365 of the Bankruptcy Code as of the
           Conversion Date.
     •     Litigation claims represent fixed litigation claims based on the Debtors’ Schedules of Assets and
           Liabilities. All other non-fixed litigation claim estimates are assumed at $0 for purposes of this
           hypothetical Liquidation Analysis.
     •     Indemnification claims relate to the agreement between WeWork Companies U.S. LLC
           (“WWCUS”) and WeWork Companies LLC (“WWC”) whereby WWCUS indemnified WWC for
           any parent guarantee obligations.
     •     Deficiency Claims relate to remaining estimated liabilities after available proceeds are distributed
           to Secured liabilities at a given legal entity. For presentation purposes, the Deficiency Claims are
           shown asserted only once in the chart in section IV above instead of duplicating across all Debtor
           Guarantor entities.
     •     Guaranty claims relate to real estate lease claims in which a parent guarantee was provided pursuant
           to the lease. These are shown primarily at WeWork Companies LLC and WeWork Companies
           U.S. LLC.




                                                       10
Case 23-19865-JKS          Doc 1706 Filed 04/22/24 Entered 04/22/24 23:39:10                       Desc Main
                                  Document     Page 31 of 31



     •    Intercompany claims comprise promissory notes and receivables that exist between Debtor entities
          to reflect prepetition intercompany transactions incurred during the Debtors’ ordinary course of
          business.
 Holders of General Unsecured Claims (Plan Class 8) will not receive any recovery on account of their
 Claims under the Plan. However, such Holders will receive, at such Holders’ election, such Holder’s Pro
 Rata share of either (A) the Cash Election or (B) the Equity Election. For the avoidance of doubt, such
 recoveries are not on account of such Holders’ General Unsecured Claims. The value represented by the
 Cash Election or the Equity Election is subject to the ongoing negotiation among the Debtors, the Creditors’
 Committee, and the Required Consenting Stakeholders. For the avoidance of doubt, in no event will
 Holders of General Unsecured Claims receive a lower recovery on account of their Claims under the Plan
 than they would receive on account of such Claims under a hypothetical chapter 7 liquidation.
     X.      STATEMENT OF LIMITATIONS
     The determination of the costs of, and proceeds from, a hypothetical liquidation of the Debtors’ assets
 in a chapter 7 case involves the use of reasonable estimates and assumptions that are based upon the
 Debtors’ business judgment and input from certain of their advisors. These reasonable estimates and
 assumptions may be subject to business, economic, and competitive uncertainties and contingencies beyond
 the control of the Debtors, their management, and their advisors.
      The Liquidation Analysis was prepared for the purpose of generating a reasonable, good faith estimate
 of the proceeds that would be generated if the Debtors’ assets were hypothetically liquidated in accordance
 with chapter 7 of the Bankruptcy Code. The actual amounts of Claims that would ultimately be Allowed
 against the Debtors’ estates could vary from the estimates stated herein, depending on the nature and
 amounts of Claims asserted during the pendency of the hypothetical chapter 7 cases. Similarly, the value
 of the Debtors’ assets in a liquidation scenario is uncertain and could vary from the values set forth in this
 Liquidation Analysis.
    NOTHING CONTAINED IN THIS LIQUIDATION ANALYSIS IS INTENDED TO BE, OR
 CONSTITUTES, A CONCESSION, ADMISSION, OR ALLOWANCE OF ANY CLAIM BY THE
 DEBTORS. THE DEBTORS RESERVE ALL RIGHTS TO SUPPLEMENT, MODIFY, OR AMEND THE
 LIQUIDATION ANALYSIS SET FORTH HEREIN.



  NO ORDER OR FINDING HAS BEEN ENTERED OR MADE BY THE BANKRUPTCY
  COURT ESTIMATING OR OTHERWISE FIXING THE AMOUNT OF CLAIMS AT THE
  ESTIMATED AMOUNTS OF ALLOWED CLAIMS SET FORTH IN THIS LIQUIDATION
  ANALYSIS. THE ESTIMATES OF THE AMOUNTS OF ALLOWED CLAIMS SET FORTH
  IN THIS LIQUIDATION ANALYSIS SHOULD NOT BE RELIED UPON FOR ANY
  DETERMINATION OF THE VALUE OF ANY DISTRIBUTION TO BE MADE ON ACCOUNT
  OF ALLOWED CLAIMS UNDER THE PLAN.




                                                      11
